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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION


             UNITED STATES OF AMERICA,
                                                      CRIMINAL CASE NO.
             v.
                                                      1:10-cr-512-01-JEC
             ANTHONY VINCENT CARTMAN,

                         Defendant.

                                         ORDER AND OPINION

                  Defendant was tried before a jury, convicted, and sentenced to

             137 months in prison.    The facts of the case were fairly simple.     As

             found by the jury, defendant, along with his co-conspirator, Tchaka

             Shields, exploited two women with whom defendant was romantically

             involved, to make straw purchases of firearms in the Atlanta area.

             Defendant could not legitimately make these purchases, as he was a

             convicted felon, having previously been convicted of conspiracy to

             distribute crack cocaine and of being a felon in possession of a

             firearm.

                  The evidence indicated that defendant and his co-conspirator

             purchased these guns in order to sell them in the Boston area, which

             they did.   Based on this conduct, defendant was convicted of causing

             false representations as to the true purchaser of firearms to be

             recorded in a federal firearms transaction record, as well as being




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             a felon in possession of these firearms.            Defendants’ three co-

             defendants pled guilty reasonably quickly after the filing of the

             indictment.      Defendant, however, remained a fugitive for eight

             months, and his proceedings began thereafter.

                  Since the beginning of the case, defendant has been a profligate

             filer of motions, even though he was appointed counsel.            This Order

             memorializes the Court’s oral rulings on the last group of motions

             filed by defendant and its decisions on other matters.             It further

             explains the status of defendant’s legal representation during the

             proceedings,    and   the   conduct    of   defendant    that   unnecessarily

             protracted and    complicated the proceedings.

             I.   DEFENDANT’S LEGAL REPRESENTATION PRIOR TO AND DURING TRIAL

                  A.   “Sovereign Citizenship” Phenomenon

                  In the Northern District of Georgia, a new practice has found

             its way into local jails where pretrial criminal defendants are being

             housed.    At    these   facilities,   some   of   the   inmates   have   been

             introduced to a relatively new tactic apparently believed to be

             useful in trying to avoid a criminal conviction, or at least muddy

             the waters: a declaration of the defendant’s sovereign citizenship.

             At bottom, a sovereign citizen claims that a federal court has no

             jurisdiction to try the defendant for the federal crimes with which

             he is charged. The sovereign citizen purports to rely heavily on the

             Uniform Commercial Code (“UCC”), admiralty laws, and other commercial

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             statutes to argue that, because he has made no contract with the

             Court, the Court can enforce no agreement upon him.               The criminal

             code is apparently not one of the groups of statutes whose validity

             the defendant will acknowledge.

                  The sovereign citizen typically files lots of rambling, verbose

             motions and, in court proceedings, will often refuse to respond

             coherently to even the simplest question posed by the Court.                Each

             question by the judge is volleyed back with a question as to what is

             the judge’s claim and by what authority is the judge even asking a

             question.    When referred to as the defendant or by his name, the

             defendant will frequently indicate that there is no proof that he is

             the defendant, but that instead he is a third-party intervenor.

                  In proceedings, the observant sovereign citizen clings doggedly

             to the sovereign citizen script, which the record excerpts in this

             case reveal to be tedious and mind-numbingly repetitious.                    The

             colloquy    with   the    court   is    often    characterized    by     frequent

             interruptions by the defendant, who attempts to talk over the judge.

             For the most part, the defendant’s statements to the Court are

             gibberish. On the matter of legal representation, the defendant will

             often refuse to cooperate with, or even speak to,                his appointed

             counsel    and   will    sometimes     protest   that   he   never     authorized

             appointment of counsel. Yet, when the Court attempts to engage the

             defendant to determine whether the latter wants new counsel or wants

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             to represent himself, the non-responsive dialogue begins, with the

             defendant refusing to affirmatively indicate his waiver of counsel or

             to answer in any coherent way how he wishes to proceed or in any way

             that suggests the defendant would be willing to comport himself at a

             trial in a manner that would allow a trial to even proceed.

                  Although there have been some moments in these proceedings after

             the trial began when this defendant has stepped out of his “sovereign

             citizen”    persona   to     behave     like     an    appropriately-functioning

             defendant, in the pretrial proceedings before this Court, he hewed

             largely to the above script.

                  B.     Colloquies     With   Defendant      Regarding    Representation    of
                         Counsel

                  After arraignment, defendant was appointed counsel.                   At the

             pretrial conference held shortly thereafter, appointed counsel raised

             uncertainty as to whether the defendant wanted to proceed pro se. In

             response, the magistrate judge set down a hearing on the matter.

             (Minute Entry, Sept. 7, 2011 [85].)

                  At this hearing, the defendant did respond directly to the

             question    whether   he     wanted    his     appointed   lawyer   to   continue

             representing him, answering that he did. (Sept. 21, 2011 Hr’g. [243]

             at 7-8.)    The magistrate judge gave the defendant sound, practical

             advice    about   allowing    his     attorney    to    perform   that   role   and

             discouraged the defendant, who had already filed many inapt motions,


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             from continuing to do so. (Id. at 9.)         The hearing concluded with

             appointed counsel continuing as counsel.         (Id. at 10.)      See also

             Minutes Entry, Sept. 21, 2011 [92].

                   Unfortunately, the magistrate judge’s advice fell on deaf hears,

             and the defendant continued filing numerous motions, which protracted

             the pretrial process.    Shortly before the magistrate judge certified

             the case as ready for trial and before this Court set down a trial

             date, the magistrate judge convened another hearing with defendant

             and counsel, as a result of a letter [116] and a notice [119] she had

             received from defendant from which she inferred that defendant might

             want to have new counsel appointed.        (Feb. 23, 2012 Hr’g. [244] at

             2.)

                   At the hearing, the defendant indicated his frustration that his

             counsel would not, himself, file the repetitious “sovereign citizen”

             motions that defendant kept urging him to file. (Id. at 3.)            Once

             again, the magistrate judge offered sound advice to the defendant

             that he should stop filing jurisdictional and other similar motions.

             Given defendant’s professed concern about his speedy trial rights,

             the magistrate judge indicated that she would consider a Speedy Trial

             Act motion, should the defendant wish to file that.        (Id. at 17.)   As

             to whether the defendant wished to continue with appointed counsel,

             defendant indicated that he did.      Id. at 13-14.

                   Shortly after this hearing, on March 22, 2012, the undersigned

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             set a trial date for May 21, 2013.       Two weeks before this trial date,

             defense counsel filed a Motion to Withdraw As Counsel [149],           noting

             that while the defendant had never explicitly requested new counsel

             or to represent himself, he had refused all visits from counsel and

             had failed to respond to counsel’s attempts to contact him by mail.

                  The Court hastily convened a hearing on the next day for the

             defendant and counsel.       The defendant began the proceedings by

             stating that he was a third-party intervenor who was relieving

             appointed counsel of his duties. Before launching directly into this

             topic, the undersigned indicated that the Court would deal with other

             matters first, and attempted to discuss the arraignment of defendant

             on the recent superseding indictment.        (May 9, 2012 Hr’g. [245] at

             23-26.)

                  The conversation between the Court and the defendant then

             quickly went south.   The defendant refused to enter a plea to the new

             indictment because, among other things he did not understand “the

             cause and nature” of the charges and his attorney was no longer his

             attorney and should not be able to speak.        When the Court indicated

             that it was directing counsel to speak, the defendant continued to

             interrupt    and   talk   over    the     undersigned,   questioning     the

             undersigned’s authority and again claiming that he was the third-

             party intervenor who had “a superior claim over Mr. Cartman.”           (Id.

             at 27-28.)

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                  Following      other    substantive    discussion   with    counsel     about

             evidentiary matters,         the Court then indicated that the defendant

             would have to decide whether he wanted to stipulate to the fact that

             he is a felon, or whether instead he wanted the Government to prove

             the fact of his prior felony convictions.              In response, defendant

             answered that he was “here under Rule 24, a special appearance as the

             third-party intervenor on behalf of Anthony Vincent Cartman, and I

             still have questions that I would like to ask.”            (Id. at 35.)        When

             the Court focused defendant again on whether he wanted to stipulate,

             he responded that he would do so only if the prosecutor “shows me

             some type of contract or claim or a claimant or tells me the injury,

             the loss, the damages that the defendant created with the United

             States.” (Id.)

                  When told that the prosecutor would not be making that showing,

             defendant began again quizzing the Court about its lack of authority

             to keep such information from a third-party intervenor, such as

             himself.    (Id.)   The     Court   concluded   this   topic    by   telling   the

             defendant that he could choose one of three answers to the question:

             either (1) “yes” that he would stipulate, (2) “no” that he would not

             stipulate, or (3) that he would like to think about it.                Defendant

             refused    to   answer    the   question,   again   challenging      the   Court’s

             authority.      (May 9, 2012 Hr’g. [245] at 36.)       After further attempts

             to get an answer, to which the defendant’s response was always the

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             same looping questions back to the undersigned, together with claims

             not to understand “the cause and nature,” the Court abandoned this

             line of questioning. (Id.)

                  The    Court   next   asked   the   defendant   whether   he   wanted   to

             represent himself. Defendant likewise refused to respond directly to

             this question.      Instead of a “yes” or “no” reply, the defendant

             answered, “If the prosecution can come up with a proper claim against

             the defendant that would be an option.”              The Court attempted to

             explain that the indictment was the claim, to which the defendant

             looped back to his claimed mystification as to whom the real party in

             interest was and the absence of “any damages, loss or trespass here.”

             The Court’s explanation that the “real party in interest” was the

             fellow who could be going to jail–-him–-apparently did not adequately

             clarify the matter, as defendant’s repetitious questions continued.

             (Id. at 39-40.)

                  The undersigned then switched gears and attempted to explain to

             defendant how a trial would proceed and the rights he would enjoy as

             to a presumption of innocence, the Government’s burden of proof, and

             the defendant’s opportunity to put up a defense or to remain silent.

             (Id. at 40.) When asked if he understood the procedure, the defendant

             did not respond, but instead inquired whether the Court followed the

             Constitution or the criminal procedure rules or the civil procedure

             rules.     The undersigned answered that she tried to follow all the

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             rules, but not the rules of civil procedure in a criminal case.         As

             defendant’s fixation has always been on the applicability of civil

             rules to his case, this answer prompted his professed concern that

             the Court would not be following Rules 1 and 2 of the civil procedure

             rules, as well as the rules of “common law, equity, and admiralty. “

             (May 9, 2012 Hr’g. [245] at 41-42.)

                  When the Court noted that defendant had earlier agreed to be

             represented by his appointed counsel, he disagreed and launched again

             into his jurisdictional argument concerning admiralty, equity, and

             common law.   This prompted yet another effort by the Court to try to

             explain to the defendant the difference between a legal argument that

             he could make to the appellate court and the factual question of his

             guilt that a jury would resolve.         That effort, not unsurprisingly,

             prompted defendant to again ask the undersigned what the claim was,

             whether the Court was bound by Supreme Court decisions, and, again,

             whether the undersigned would be following civil or criminal rules of

             procedure.    (Id. at 44-46.)

                  The undersigned then tried to move to a new topic by asking the

             defendant some biographical questions about his background.            This

             went successfully for a few questions, until the defendant bored of

             the topic and again questioned the undersigned’s authority to ask him

             these questions. (Id. at 48.)      The undersigned attempted to explain

             to defendant that the tactic he was using was not wise and that he

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             should focus seriously on his criminal charges, not on the irrelevant

             questions he was asking.        Again, the defendant protested that he had

             done   no   damages,   theft,    injury,    nor   caused   any   loss,    and   he

             professed, “I just don’t understand.”         (Id. at 49.)

                    The Court responded that if the defendant truly understood

             nothing, he would be in no position to represent himself, and asked

             the defendant to explain the elements of the offense.              Defendant’s

             response was a citation to Rules 1 and 2 of the civil procedure

             rules, as well as “1938 common law,” and laws of equity and admiralty

             that had been combined in 1968.       Introducing a new argument, he also

             noted that, per Rule 54 of the criminal rules of procedure, the

             criminal rules were only applicable in “Hawaii, Alaska, and so

             forth.”     (May 9, 2012 Hr’g. at 51.) This latest thought prompted

             defendant to express uncertainty whether the undersigned was an

             Article III court or an Article I court charging him with Article IV

             violations.    Pursuing this jurisdictional line of attack, defendant

             opined that the crimes had to have happened in a special maritime

             jurisdiction and that he was not in the “federal corporation, United

             States.     I was not inside your jurisdiction.”             (Id.)       Finally,

             defendant asked the prosecution for the “certificate of session for

             these locations.”      (Id. at 52.)

                    The Court then attempted to explain to defendant the elements of

             the offense, noting that the Government would have to prove that the

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             defendant    possessed   a     firearm   that   had    traveled   in   interstate

             commerce.     When the undersigned asked if defendant understood the

             elements, he responded:

                    Was I ever in possession with a firearm within the United
                    States? I could be in Afghanistan. I can go to Mexico. I
                    can go to Canada. I can go anywhere and possess a firearm
                    except in the United States. I was not located within the
                    United States....


             (Id. at 52-53.)

                    The Court responded that the Government would attempt to prove

             that the defendant was in the Northern District of Georgia and other

             places during the conspiracy, which remark prompted the defendant to

             inquire whether the Northern District of Georgia had been ceded to

             the federal government and whether there was a “notice of acceptance

             letter” from the Governor confirming that fact.               According to the

             defendant, it was “mandatory that they show these things.”

                    The undersigned asked whether defendant had given any thought to

             what   his   defense   might    be,   should    he    represent   himself.    The

             defendant responded:

                    Well, would I need a defense if we had a claimant that was
                    going to tell the truth...? You know, then I would need a
                    defense. But right now we have a ghost over there that I
                    don’t; I can’t see. I don’t know what he is saying. He is
                    not saying anything. He is saying a violation of a rule
                    that’s in a book that in Rule 54 says goes to a whole
                    nother place and this is not it.      I’m just trying to
                    understand.

             (Id. at 55.)

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                   In response to the Court’s question whether he understood that,

             if he was convicted, there would be a sentencing hearing and whether

             he understood how that worked, defendant indicated that he did not

             understand.     (Id.     at   55.)       The    Court’s    question     as   to   the

             defendant’s   understanding      of     the    evidentiary    rules     predictably

             elicited questions about which rule book the undersigned would be

             using.     (Id. at 56.)

                   Finally giving up on any likelihood of a responsive answer to

             any   questions,   the    undersigned     concluded       that   the    defendant’s

             responses indicated either an insufficient understanding of the

             proceedings or the lack of a genuine desire to represent himself at

             a criminal trial.        Given the lengthy, unsatisfying colloquy, the

             Court indicated that appointed counsel would continue to represent

             the defendant at trial.              (Id. at 56-58.)         When      asked if he

             understood that he needed to work with his counsel, defendant

             answered, “I conditionally accept that, but I still need to know the

             claim.”    (Id. at 58.) He then continued to complain that he had not

             gotten answers to his questions. (Id. at 58-59.)

                   C.    Discussion

                   In its en banc opinion in United States v. Garey, 540 F.3d 1253,

             1257(11th Cir. 2008)(en banc), the Eleventh Circuit acknowledged the

             principle, articulated in the Supreme Court’s decision in Faretta v.



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             California,1 that a criminal defendant may waive counsel as long as

             he does so intentionally and knowingly.         The court noted, though,

             that while the principle might be clear as an abstract statement of

             law, “[l]ess clear are the means by which a defendant may [so] waive

             counsel.”    (Id. at 1263.)      Specifically, the decision in Faretta

             “presupposed a cooperative defendant willing to engage in reciprocal

             dialogue with the court.      The Supreme Court has never confronted a

             case in which an uncooperative defendant has refused to accept

             appointed    counsel   or   engage   in   a   colloquy   with   the     court.

             Consequently, the Court has never been asked to determine whether a

             defendant may waive counsel without       making an explicit, unqualified

             request to represent himself.”       (Id.)

                  The Eleventh Circuit, however, faced such a defendant. Garey’s

             beef with the trial court was its refusal to appoint him new counsel,

             and, as a result, Garey would neither unequivocally waive counsel nor

             affirmatively agree to representation by his existing appointed

             counsel. While the decision in Faretta presumed an unequivocal waiver

             by a defendant of the right to counsel, the Garey court was forced to

             determine whether a defendant who refused to give an unequivocal

             waiver could be deemed to have effectively waived counsel, as the

             district court found when it permitted the defendant to represent



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                      Faretta v. California, 422 U.S. 806 (1975).

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             himself at trial.

                  The    Eleventh   Circuit   upheld   the   district   court’s   decision

             finding a waiver.      In upholding the district court’s decision, the

             Eleventh Circuit, however, made clear that a district court likewise

             has broad discretion, particularly when a defendant engages in

             circular dialogue and equivocation, to decide that a defendant has

             not voluntarily waived his right to counsel and to then require

             counsel to continue representation of the defendant:

                  In recognizing that a defendant may waive counsel by his
                  uncooperative conduct as well as by his express request, we
                  do not suggest that district courts are bound to interpret
                  the uncooperative behavior of every defendant as a waiver
                  of the right to counsel. Nor do we suggest a district court
                  would err by requiring any particular defendant to make a
                  clear statement of his intention to proceed pro se before
                  agreeing to dismiss appointed counsel. In any given case,
                  the proper course of action will turn on factors the
                  district court is best positioned to assess. What we
                  recognize today is that, in some instances, a defendant’s
                  conduct will reveal a voluntary decision to choose the path
                  of self representation over the continued assistance of
                  counsel. In such cases, the district court may, in its
                  discretion, conclude the defendant has voluntarily waived
                  his right to counsel.


             Id. at 1266 (emphasis in original).

                  Indeed, the court noted, a trial court must be assured that the

             defendant    understands   his   choices,   knows   the    dangers   of   self-

             representation, and intends to reject a lawyer.              (Id. at 1268.)

             Repeating its intention to allow the district court broad discretion

             in making a decision under such uncertain circumstances, the court

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             again noted:

                   Once again, we emphasize a Court is not required to relieve
                   a criminal defendant of counsel when the defendant engages
                   in obstructionist conduct. If, when viewing all relevant
                   circumstances, a Court concludes a defendant’s equivocal,
                   irrational, or otherwise uncooperative conduct stems from
                   serious mental illness, confusion, or any other condition
                   indicative of a lack of understanding, the Court should
                   prohibit the defendant from proceeding pro se, even if the
                   defendant has rejected counsel or made an affirmative
                   request to proceed without counsel. Cf. Indiana v. Edwards
                   (citation omitted)(Constitution permits judges to take
                   realistic account of defendant’s mental capacities by
                   asking whether defendant who seeks to conduct his own
                   defense at trial is mentally competent to do so). Our
                   decision today is meant to provide trial courts with
                   guidance and discretion-not to force courts to discharge
                   counsel against their better judgment.

             Id. at 1267, n.9 (italics emphasis in original) (underlined emphasis

             added).

                   Given its lengthy colloquy with defendant Cartman set out above,

             this Court denied defense counsel’s motion to withdraw from the case

             and directed him to continue representing the defendant at trial.

             The undersigned did so for the following reasons.                First, as to

             equivocation, the defendant’s attitude toward representation by

             counsel prior to the pretrial hearing before this Court had been

             characterized by hints that defendant might not be enthusiastic about

             the situation, followed ultimately by a decision that he would like

             to   have   counsel   represent    him.      Indeed,   the   magistrate   judge

             conducted two hearings with the defendant, upon learning that the

             defendant    might    not   want   his     appointed   counsel   to   continue

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             representing him.     In both hearings, the defendant indicated his

             frustration    that    his   counsel      would   not   file    defendant’s

             jurisdictional motions (of which an abundance had already been filed

             by the defendant), but on both occasions agreed that he wanted to

             continue with counsel.

                  In the hearing before this Court, defendant did not even make it

             past the Court’s first question as to whether he wanted to represent

             himself.    Instead of answering “yes,” which response one would have

             expected if defendant had really wanted this outcome, defendant

             stated that this would be an option, but only if the prosecution

             could provide him with a proper claim.       As the prosecution was never

             going to be able to articulate a claim that would satisfy the

             defendant, this scenario could never occur.        Shoring up the Court’s

             sense of defendant’s ambivalence about self-representation is the

             fact that he never indicated that there was any          disagreement with

             his counsel on trial strategy, as is the typical situation when a

             defendant seeks to fire his appointed lawyer. Rather, as opposed to

             disagreeing with his counsel’s approach to defending him factually on

             these charges, defendant refused to even talk to his attorney about

             the case.     Instead he focused on this Court’s perceived lack of

             power to try him at all, regardless of whether or not the evidence

             showed him to have engaged in the charged conduct.

                  More significant, though, was the Court’s concern that defendant

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             had failed to manifest a basic understanding of the proceedings

             necessary to allow the undersigned to conclude that any waiver by

             defendant would have been knowing, voluntary, and intelligent, had a

             waiver been clearly given.      See United States v. Kimball, 291 F.3d

             726, 730 (11th Cir. 2002).       Two of the factors to be considered in

             judging whether a waiver is intelligent and knowing are: (1) the

             defendant’s knowledge of the nature of the charges and possible

             defenses and penalties and (2) the defendant’s understanding of the

             rules of evidence, procedure, and courtroom decorum. (Id.)              Despite

             extensive questioning, defendant never manifested an understanding of

             any of these matters.

                  When questioned about his anticipated defense to the charges,

             defendant gave an answer that sounded delusional, as he spoke of the

             fact he did not need a defense because there was a “ghost over there”

             that he could not see and that he was “just trying to understand.”

             Supra at 11. When asked about the elements of the offense, defendant

             went off on a tangent, suggesting that he would not have been in the

             United States when he allegedly possessed these firearms, but could

             have been in Afghanistan, Mexico, or Canada.         Supra at 10-11.      This

             latter comment apparently related to defendant’s belief that firearms

             transactions in Atlanta, Georgia were not within United States

             jurisdiction because the Governor of Georgia had not ceded the land

             on which defendant was standing to the federal government, nor had

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             the    prosecutor    provided    a   “certificate    of    session      for   these

             locations.”      Supra at 10.     Defendant repeatedly stated that he did

             not understand the “cause and nature” of the charge or the “claim.”

             Supra at 6-10.

                    As   to   defendant’s    understanding   of   the   rules   of    evidence,

             procedure and courtroom decorum, any manifestation of such knowledge

             was non-existent.       It is true that a waiver can be knowing and

             intelligent, even if the defendant does not demonstrate any expertise

             in applying rules of evidence or procedure, nor does a defendant have

             to show himself to be an effective advocate.               It is enough that a

             defendant understands that “rules do exist to govern the procedure of

             a trial, the introduction of evidence and the behavior of advocates,

             and ... that he would be bound by those rules.”            Kimball, 291 F.3d at

             731.

                    Yet, here, the defendant claimed not to even understand which

             rules or law applied, and he certainly never assured the undersigned

             that he would be bound by the applicable rules.                For example, he

             refused to acknowledge that the rules of criminal procedure applied,

             and instead repeatedly argued that Rules 1 and 2 of the civil

             procedure rules governed, as well as some 1938 common law, and the

             laws of equity and admiralty.          Supra at 9-10.       He also repeatedly




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             claimed not to understand which rules would be used at trial.2          Supra

             at 8-10, 12.   Compare United States v. Price, 485 Fed. App’x 3d 396,

             398 (11th Cir. 2012) (defendant who asked to proceed pro se indicated

             that he intended to read federal rules); United States v. Parker, 277

             Fed. App’x 952, 955 (11th Cir. 2008)(defendant was aware that rules

             existed and that he would be bound by rules).

                  It may well be that the above statements by defendant were a ruse

             and that he did, in fact, understand everything, but was simply

             enjoying the mischief and aggravation that he was causing.3         Yet, the

             undersigned    could   not   confidently   make   that   assumption.     The

             prosecutor had been so concerned about the ravings of the defendant

             in his pleadings that he requested that the defendant be examined to

             determine his competency: a motion that the magistrate judge granted.


                  2
                       As to courtroom protocol, defendant’s understanding, or
             willingness to abide by this protocol, was lacking.      Indeed, at
             trial, he refused to stand at any time during the proceedings.
                  3
                    That was the conclusion of the district court, affirmed by the
             Eleventh Circuit, in United States v. Talley, 315 Fed. App’x 3d 134
             (11th Cir. 2008.) There, the sovereign citizen criminal defendant,
             who later represented himself at trial, gave the de rigeur “long,
             rambling, and obscure” responses to questions. (Id. at 139.) An
             examining psychologist concluded that the defendant’s “nonsensical
             use of legal jargon” was a tactic designed to manipulate the
             proceedings.    (Id. at 144.)     In contrast, here the examining
             psychologist did not impute manipulation to defendant Cartman, but
             characterized him as acting on bad legal advice. Moreover, Talley at
             least had demonstrated adequate familiarity with procedural and
             evidentiary rules, and stated that he knew those rules would apply at
             his trial (id. at 144): acknowledgments never given in this case by
             defendant Cartman.

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             (Mot. for Psychiatric Exam [99]; Order [101].)

                  The   examining   psychologists      determined   that   defendant   was

             competent to stand trial. (Psychiatric Report [160].) They did note,

             however, defendant’s representation that he had previously been

             diagnosed with bipolar disorder.       (Id. at 5, 6.)     As to the reasons

             why the defendant was pursuing his nonsensical legal defenses, the

             report indicated that defendant’s “idiosyncratic defense strategy is

             a variation on one that has been widely distributed in recent years.

             It appears to be the result of potentially improper legal advice, not

             due to either mental illness or an attempt to feign mental illness.”

             (Id. at 9.)

                   In Indiana v. Edwards, 554 U.S. 164 (2008), the Supreme Court

             concluded that it was appropriate for a state trial court, acting

             pursuant to state law, to require a criminal defendant who suffered

             from severe mental illness to be represented by counsel, even though

             the defendant had been deemed competent to stand trial.            Defendant

             Cartman’s claimed prior diagnosis of bipolar disorder was perhaps not

             as dramatic, or as documented, a mental disorder as the schizophrenia

             possessed by the defendant in Edwards.       Id. at 168. Nevertheless, the

             possibility that defendant suffered from some mental illness, combined

             with all the circumstances discussed above, prompted this Court to

             conclude that he had failed to manifest the necessary understanding

             to proceed without counsel.     Given the uncertainty of the defendant’s

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             level of functioning, prudence suggested that it was best to err on

             the side of protecting defendant’s rights, notwithstanding his best

             efforts to sabotage those rights.                See United States v. Posadas-

             Aguilera, 336 Fed. App’x 970, 976 (11th Cir. 2009) (“we concur with

             brethren on the Seventh Circuit and read Edwards to hold that ‘[t]he

             Constitution may...allow [ ] the trial judge to block [a defendant’s]

             request   to    go   it    alone,    but    it    certainly      [doesn’t]   require

             it.”)(citations omitted).

                  D.      Trial

                  The defendant initially manifested hostility at the beginning of

             the trial.     He refused to wear civilian clothes, insisting on wearing

             his orange jail uniform.            Further, he refused to stand when the

             undersigned entered or left the courtroom and would not directly

             answer questions.         As the trial continued on, though, defendant

             became more cooperative.       At the beginning of trial, the undersigned

             had told the defendant that he would be allowed to provide input as

             to the proceedings outside the presence of the jury, during breaks.

             (Tr. [217] at 26.) Defendant took advantage of that opportunity toward

             the end of the trial when the question arose as to the appropriateness

             of a jury instruction on the defendant’s fugitive status prior to

             arrest.      Specifically,     defendant        disputed   the    accuracy   of   the

             Government’s position that he had not disclosed his location during

             the period of time before his arrest.                 The undersigned and the

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             defendant engaged in a lengthy colloquy               concerning      whether the

             defendant wished to testify to try to establish that he was not

             hiding. (Tr. [219] at 444-77.) Ultimately, the defendant decided that

             he would not testify and the Court decided, with the acquiescence of

             the Government, not to give a flight instruction.                 (Id. at 475-76.)

                    Around this same time, a question arose as to whether a juror

             with   travel   plans   later   in    the    week   should   be    excused.    The

             undersigned solicited defendant’s position on this matter, which he

             provided. Defendant ultimately agreed with the prosecutor that the

             juror should not be excused.         During this exchange, the defendant was

             cooperative. (Id. at 522-28.)

                    The jury deliberated and returned a verdict of guilty on all

             counts as to the defendant. [170).] Sentencing was set on a date

             approximately three months later, on August 20, 2012. ([171).]

             II.    SENTENCING

                    After the conclusion of the trial, but before the first scheduled

             sentencing date, the defendant files several motions challenging the

             verdict.   ([175, 180-87]).     In one of these pleadings [185], he filed

             a notice/demand to proceed pro se.           Thereafter, defense counsel sent

             an email to the Court’s deputy clerk, stating that the defendant

             refused to see counsel when the latter had attempted to visit him at

             USP-Atlanta to review the pre-sentence report (“PSR”).                     Counsel

             further reported that defendant refused the copy of the PSR that

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             counsel had mailed to him.     Counsel acknowledged defendant’s request

             to proceed pro se and sought guidance from the Court. (Email [187-1].)

                  The Court issued an Order on August 9, referencing the email from

             defense counsel and indicating its willingness to allow defendant a

             role in representing himself at sentencing.4        (Order of Aug. 9, 2012

             [(187).] The Order noted, however, that defendant would be unable to

             handle such a role if he refused to accept or to read his PSR.          (Id.

             at 2.) It further explained, in detail, the sentencing process and the

             types of objections to the PSR on which the defendant should focus,

             the base offense level, the specific enhancements recommended in the

             PSR, the advisory guidelines range, and the parties’ ability to ask

             the Court to vary from that range.        (Id. at 2-4.)

                  The Order indicated the Court’s willingness to appoint defendant

             new counsel to assist at a sentencing hearing and to allow defendant

             to be heard on any sentencing issues, but advised that defendant would

             not be allowed to focus on irrelevant matters. (Id. at 5.) The Order

             directed defendant to respond by August 16 as to how he wished to

             proceed and as to whether he wanted additional time to file objections


                  4
                      As noted, at the end of the trial, the defendant had
             interacted in a coherent way with the Court on two matters.
             Defendant’s conduct in this regard was in striking contrast with his
             bizarre and delusional rants at the pretrial hearing.       For this
             reason, as well as the fact that the Court intended to review de novo
             the entire record before determining what guidelines enhancements to
             apply, the undersigned ultimately acceded to defendant’s request that
             he proceed without even stand-by counsel at sentencing.

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             to the PSR.    (Id. at 6.)

                  Defendant submitted a seven-page response [188] on August 14, in

             which he spent most of his pages talking about the irrelevant

             jurisdictional   matters     on   which    he   had    fixated   throughout   the

             proceedings.   In one paragraph, however, he did address obliquely the

             upcoming sentencing proceeding by indicating that he never received

             any documents from the probation office.              (Id. at 6.)   Defendant did

             not, however, disagree that he had refused the PSR offered to him by

             his attorney nor did he indicate whether he wished additional time to

             file objections.

                  In response to this pleading by defendant, the Court issued a

             second order [189] on August 15.          It indicated that defendant would

             be allowed to represent himself at the sentencing hearing. Further,

             although defendant never requested a copy of the PSR that he had

             previously rejected, the Court directed the Clerk to mail another copy

             to the Warden at defendant’s institution and directed the Warden to

             see that defendant got this copy.           The Court set a new deadline of

             September 14 for the defendant to file objections and reset the

             sentencing date for October 9, 2012.            (Id. at 4.)

                  On September 7, defendant filed another pleading indicating that

             he had not received a copy of the PSR.             ([200].)      The undersigned

             issued another Order [202] noting that the Postal Service indicated

             that the Warden had received the PSR and directing the Warden to

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             confirm this fact. The Court issued an additional order [203] staying

             the deadline for objections pending confirmation of defendant’s

             receipt of the PSR.

                  On September 18, the Court issued now a fifth order [204]

             concerning sentencing, in which it noted that the Bureau of Prisons

             had confirmed that defendant had received a copy of his PSR on

             September 18.    The Order noted that defendant’s earlier Notice had

             requested his full 35-day period to object and that he had requested

             trial transcripts.    (Id. at 2-3.)    The Court indicated that it would

             have transcripts prepared       for   defendant’s use and it continued

             indefinitely the sentencing date for that purpose. (Id. at 3.)

                  The trial transcript was filed on November 26, 2012. ([217-219).]

             The Court issued an Order [221] on December 12, 2012, setting

             sentencing for February 13, 2013.          A sentencing hearing was held on

             that date.   Prior to that hearing, the undersigned read the entire

             trial transcript to ensure that any enhancements recommended in the

             PSR could be supported by the record.         While that proceeding has not

             yet been transcribed, the Court’s recollection is as follows.

                  As to the twenty-three firearms for which the defendant had been

             held accountable, the Court concluded that even giving the benefit of

             the doubt to defendant as to four to five of those firearms, the

             number of guns for which defendant would be responsible would still

             fall within the eight-twenty-four firearms range.          Accordingly, the

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             Court imposed the recommended 4-level enhancement.                The Court

             likewise imposed the 4-level enhancement for trafficking in firearms

             as that is clearly what defendant and his co-conspirator conspired to

             do, and did. The Court did, however, decide not to apply a 2-level

             enhancement for defendant’s leadership role in the offense, even

             though the PSR had recommended this.

                  The original calculations in the PSR resulted in an Offense Level

             30/Criminal History Category IV, for an advisory range of 135-168

             months.   With the Court’s decision not to enhance the defendant for

             a leadership role, the modified range was then 28/IV, for a range of

             110-137 months.

                  In its written submission, the Government had recommended a 168-

             month sentence.     The Government had further noted that a Criminal

             History Category IV understated defendant’s criminal history and

             dangerousness. Finally, the Government had argued that all the § 3553

             factors tended to argue for a higher, not a lower, sentence of the

             defendant.   See Gov.’s Letter of August 7, 2012, attached to PSR.

                  In articulating the basis for its sentence, the Court noted that

             there were aggravating factors that could justify an upward departure

             or variance.    Specifically, defendant had three prior convictions

             involving weapons charges.      Further, one of his co-conspirators had

             noted defendant’s obsession with and love for guns, to the point that

             he even liked to sleep with them: a fixation that magnifies a concern

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             for the defendant’s future dangerousness.          As to his conduct in the

             present case, the defendant had urged one of his co-conspirators to

             file a false police report.      He had refused to turn himself in and

             boasted to one-and-all on Facebook that he would not do so.            Perhaps,

             of most concern, was the hostility and anger that the defendant

             continued   to   demonstrate   toward     the   legal   system   and   the   law.

             Defendant had accepted no responsibility for his offense and the

             absence of any awareness that it was his own conduct that had caused

             his problems, not the Court’s failure to follow the UCC or admiralty

             rules, suggested that the prospects for defendant’s future compliance

             with the law were quite poor.

                  Nevertheless, the Court declined to upwardly depart or vary, but

             instead determined that a sentence at the high end of the range, of

             137 months, was a reasonable sentence under all the circumstances.

             III. DEFENDANT’S SPEEDY TRIAL MOTION

                  Prior to certifying this case ready for trial on April 9, 2012,

             the magistrate judge issued a Report and Recommendation [136] (“R&R”)

             recommending the denial of defendant’s pending motion to dismiss based

             on the Speedy Trial Act [125].            The magistrate judge made very

             detailed calculations of the excludable time since the defendant’s

             initial appearance in this district and concluded that, at most, only

             four days of time had elapsed under the Speedy Trial Act clock prior

             to April 9.      The Court concurs and adopts the magistrate judge’s

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             Report and Recommendation (“R&R”).

                  Assuming that defendant is continuing to contend that the Act was

             violated, the Court carries those calculations forward to the actual

             day of trial.5   As noted, the Report and Recommendation was issued on

             April 9, 2012.     According to the Order For Service of Report and

             Recommendation    ([136](found    behind      theR&R)),    the    defendant    had

             fourteen days to file objections to the R&R, which fourteen days would

             be excluded from the Speedy Trial Act.

                  On April 17, 2012, defendant filed a pleading titled “Authorized

             Representative’s    Conditional   Acceptance      and     Conditions   There    Of

             Magistrates Order And Final Report” [139].              In this pleading the

             defendant   indicated    that,    as    the    third-party       intervenor,   he

             conditionally accepted the magistrate judge’s R&R, which sounds as

             ifthe defendant concurred with the magistrate judge’s conclusions

             regarding the Speedy Trial Act. Defendant’s conditions to acceptance,

             however, were that the magistrate judge provide proof that, among

             other things, Anthony Vincent Cartman was the person who                actually

             entered a plea of not guilty; proof of a signed contract with Cartman;

             proof of territorial jurisdiction; and a variety of other similar

             demands for proof of matters not pertinent to a criminal proceeding.


                  5
                     The undersigned will not explain the legal basis for the
             exclusions following certification, but instead relies on, and
             incorporates, the magistrate judge’s thorough recitation of the
             proper grounds for excluding time from Speedy Trial Act calculations.

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             As authority for these demands, defendant cited the UCC, the Federal

             Debt Collection Act (28 U.S.C. § 3002), and the Truth-in-Lending Act.

             Id.

                    As the magistrate judge did not meet defendant’s demand nor his

             seventy-two hour time limit, the Court will assume that this pleading

             constitutes defendant’s objection to the R&R.             That being so, the

             Court had thirty days from the Objection, or until May 9, 2012, to

             rule on the objections and determine whether to adopt the R&R.

                    Prior to that deadline, defendant filed another motion to dismiss

             indictment [145], on May 3, 2012, asserting a variety of grounds for

             that motion.       Under the Speedy Trial Act, the court had 30 days to

             rule on that motion, or until June 2, 2012.

                    This Court had previously, on March 22, 2012, set a trial date

             for May 21, 2013. With that date approaching, defense counsel filed

             a Motion to Withdraw As Counsel [149] on May 8, noting that while the

             defendant had never explicitly requested new counsel or to represent

             himself, he had refused all visits from counsel since his return from

             psychological testing, and had failed to respond to counsel’s attempts

             to contact him by mail.        Under the Speedy Trial Act, the Court had 30

             days to rule on that motion, but held a hearing the next day, on May

             9,    with   the   defendant   present,   and   denied   counsel’s   motion   to

             withdraw.

                    Also, the Government having superseded the indictment on May 8,

                                                    29




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             the Court arraigned the defendant on the superseding indictment on May

             9, and entered a plea of not guilty for the defendant when the latter

             refused to enter a plea.

                  On May 18, defendant filed yet another motion to dismiss,

             creating more excludable time to allow the court to rule, and, on May

             20, the Government filed a motion in limine regarding the admission

             of Facebook chats by the defendant. These additional motions created

             further excludable time until June 19.

                  The trial began on May 21, 2012, prior to the expiration of some

             of the above excludable time. As no excludable time had elapsed since

             the magistrate judge’s certification until the day of trial, the Court

             concludes that, at most, only 4 days had expired under the Speedy

             Trial Act clock.    Therefore, any motion by defendant to dismiss based

             on a violation of this Act is DENIED. In addition, all of defendant’s

             pending pro se motions ([164, 175, 180, 181, 182, 183, 184, 210, 212,

             216, 222, 236, 237, 238, and 242]) are DENIED.             Defense counsel’s

             previous   motion   to   withdraw   [149]   was   denied   at   the   pretrial

             conference on May 9, 2012.




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                 SO ORDERED this 5th day of JUNE, 2013.




                                              /s/ Julie E. Carnes
                                              JULIE E. CARNES
                                              CHIEF U.S. DISTRICT JUDGE




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